Case 1:09-cv-00570-ML-LDA Document 4 Filed 12/29/09 Page 1 of 1 PagelD #: 14
Case 1:09-cv-00570-ML-LDA Document3 Filed 12/24/2009 Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND
Robert Zanni,
Plaintiff,
09-570 ML

VS.

Penncro Associates, Inc.,
John Doe, alias

Defendants.

 

Notice of Dismissal
Pursuant to Rule 41(a)(1)(A)@) of the Federal Rules of Civil Procedure, and no defendant
having filed an Answer or Motion for Summary Judgment, the Plaintiff hereby files this notice

dismissing this matter with prejudice, no cost and no interest.

The Plaintiff,
By Counsel,

/s/ John T. Longo

John T. Longo, Esq./#4928
681 Smith Street .
Providence, RI 02908

. (401) 272-2177
¢ oe jeg Oh Fax (401) 537-9185
in. a9 oO? jtlongo @ yahoo.com

Certificate of Service

 

 

I certify that on I electronically filed this document with the Clerk of the United
States District Court for the District of Rhode Island using the CM/ECF System. The following
participants received notice electronically:
